                        Case 3:23-cv-03417-VC         Document 314     Filed 12/05/24   Page 1 of 2



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                                                NORTHERN DISTRICT OF CALIFORNIA
                   18
                                                        SAN FRANCISCO DIVISION
                   19
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   20
                           Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                   21                                                   RESPONSE TO COURT’S DISCOVERY ORDER
                               v.                                       OF DECEMBER 5, 2024 [DKT. 312]
                   22
                        META PLATFORMS, INC., a Delaware
                   23   corporation;
                   24                                   Defendant.
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                                                                                ORDER OF DECEMBER 5, 2024 [DKT. 312]
                                                                                               3:23-CV-03417-VC-TSH
                        Case 3:23-cv-03417-VC          Document 314           Filed 12/05/24     Page 2 of 2



                    1          Pursuant to the Magistrate Judge’s Order on December 5, 2024 (Dkt. 312), Defendant Meta

                    2   Platforms, Inc. (“Meta”) hereby submits as the attached Exhibit 1 an unredacted copy of Exhibit E

                    3   (Dkt. 276-4) to Meta’s Opposition to Plaintiffs’ Administrative Motion to File Excess Pages and to

                    4   Establish a Privilege Briefing Schedule (Dkt. 275).

                    5
                        Dated: December 5, 2024                             COOLEY LLP
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                                                                        1                 ORDER OF DECEMBER 5, 2024 [DKT. 312]
                                                                                                       3:23-CV-03417-VC-TSH
